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User Name: DAVID SCHOEN
Date and Time: Thursday, November 2, 2023 3:47:00PM EDT
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Document (1)

 1. In re Sealed Case, 2023 U.S. App. LEXIS 24290
  Client/Matter: -None-




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                                              In re Sealed Case
                          United States Court of Appeals for the District of Columbia Circuit
                February 23, 2023, Argued; September 5, 2023, Decided; September 13, 2023, Filed
                                                     No. 23-3001

Reporter
2023 U.S. App. LEXIS 24290 *; 80 F.4th 355

IN RE: SEALED CASE

Prior History: [*1] Appeal from the United States
District Court for the District of Columbia. No. 1:22-sc-
                                                                 Administrative Law > ... > Defenses & Exemptions
02144.
                                                                 From Public Disclosure > Interagency
                                                                 Memoranda > Deliberative Process Privilege
In re Sealed Case, 2023 U.S. App. LEXIS 3776 (D.C.
                                                            HN1[ ]    Interagency        Memoranda,         Deliberative
Cir., Feb. 16, 2023)
                                                            Process Privilege

Core Terms                                                  Under Supreme Court and circuit precedent, the proper
                                                            inquiry is fact-specific and considers whether the act is
communications, factfinding, privileged, legislative act,   legislative, i.e., an integral part of the deliberative and
district court, cleaned, documents, authorization, votes,   communicative processes by which Members
subcommittee, protects, election, legislative process,      participate in committee and House proceedings with
disclosure, records, categorical, deliberations,            respect to the consideration and passage or rejection of
proceedings, subpoena, upcoming, matters, proposed          proposed legislation or with respect to other matters
legislation, deliberative, questioned, inform, staff,       which the Constitution places within the jurisdiction of
newsletters, processes, includes, cases                     either House.

Case Summary
                                                                 Civil Procedure > Appeals > Appellate
Overview                                                         Jurisdiction > Collateral Order Doctrine

HOLDINGS: [1]-In a case concerning application of the            Civil Procedure > Appeals > Appellate
Speech or Debate Clause privilege to the contents of a           Jurisdiction > Final Judgment Rule
representative's cell phone that was seized by the FBI
                                                            HN2[ ] Appellate Jurisdiction, Collateral Order
pursuant to a warrant, the court found against the
                                                            Doctrine
representative because at least some informal
factfinding was unprotected under caselaw and the
                                                            The collateral order doctrine treats some decisions as
categorical rule failed. The proper inquiry was fact-
                                                            final even if they do not terminate the case. 28 U.S.C.S.
specific and considered whether the act was legislative.
                                                            § 1291 provides jurisdiction in the courts of appeals over
                                                            final decisions. This is a small category, and it includes
Outcome
                                                            only decisions that are conclusive, that resolve
Judgment vacated and remanded in part; affirmed in
                                                            important questions separate from the merits, and that
part.
                                                            are effectively unreviewable on appeal from the final
                                                            judgment in the underlying action.
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    Civil Procedure > ... > Discovery > Privileged             Constitutional Law > Separation of Powers
    Communications > Attorney-Client Privilege
                                                           HN6[ ]    Congressional          Duties        &     Powers,
    Evidence > Privileges > Attorney-Client                Presentment & Veto
    Privilege > Scope
                                                           The Speech or Debate Clause provides that for any
HN3[ ] Privileged        Communications,       Attorney-   Speech or Debate in either House, Senators and
Client Privilege                                           Representatives shall not be questioned in any other
                                                           Place. U.S. Const. art. I, § 6, cl. 1. In the Constitution's
A district court's disclosure order is not immediately     careful separation of powers, the Clause serves to
appealable even when the attorney-client privilege is at   safeguard the independence of Congress, preventing
stake.                                                     intimidation of legislators by the Executive and
                                                           accountability before a possibly hostile judiciary. The
                                                           Clause is one manifestation of the Constitution's
    Constitutional Law > Congressional Duties &            practical security for ensuring the independence of the
    Powers > Speech & Debate Immunity                      legislature. While the privilege's core is speech and
                                                           debate in either House, it has long been recognized to
HN4[ ] Congressional Duties & Powers, Speech &             reach other acts within legislative proceedings.
Debate Immunity

The Speech or Debate privilege concerns the                    Civil Rights Law > Protection of Rights > Immunity
separation of powers; it is rarely invoked; and it is          From Liability > Legislative Functions
uniquely important to the fulfillment of governmental
functions.                                                     Constitutional Law > Congressional Duties &
                                                               Powers > Speech & Debate Immunity

    Civil Procedure > Appeals > Appellate                  HN7[ ]    Immunity       From     Liability,       Legislative
    Jurisdiction > Collateral Order Doctrine               Functions

    Constitutional Law > Congressional Duties &            While the Speech or Debate Clause covers more than
    Powers > Speech & Debate Immunity                      literal speech and debate, its reach has always been
                                                           confined to legislative acts undertaken within the
HN5[ ] Appellate Jurisdiction, Collateral Order            legislative process. In adjudicating the scope of the
Doctrine                                                   privilege, courts have consistently recognized both the
                                                           privilege's importance for congressional independence
The denial of a claim of Speech or Debate Clause           and the limits of the privilege to acts within the
privilege over documents is an immediately appealable      legislative sphere. The privilege will be read broadly to
collateral order.                                          effectuate its purposes.



    Constitutional Law > Congressional Duties &                Constitutional Law > Congressional Duties &
    Powers > Presentment & Veto                                Powers > Speech & Debate Immunity

    Governments > Federal Government > US                  HN8[ ] Congressional Duties & Powers, Speech &
    Congress                                               Debate Immunity

    Constitutional Law > Congressional Duties &            A legislative act has consistently been defined as an act
    Powers > Speech & Debate Immunity                      generally done in Congress in relation to the business
                                                           before it and that not all conduct related to the due
    Constitutional Law > Congressional Duties &            functioning of the legislative process is automatically
    Powers > Elections > Time, Place & Manner              privileged. Legislative acts are not all-encompassing.
    Restrictions                                           The heart of the Clause is speech or debate in either


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House. Insofar as the Speech or Debate Clause is               HN10[ ] Congressional Duties & Powers, Speech &
construed to reach other matters, they must be an              Debate Immunity
integral part of the deliberative and communicative
processes by which Members participate in committee            Across a wide variety of factual circumstances, courts
and House proceedings 1) with respect to the                   have faithfully applied the Gravel v. United States test
consideration and passage or rejection of proposed             and the principles animating it to determine whether an
legislation or 2) with respect to other matters which the      act is legislative and therefore privileged under the
Constitution places within the jurisdiction of either          Speech or Debate Clause.
House.


                                                                   Civil Rights Law > Protection of Rights > Immunity
    Civil Rights Law > Protection of Rights > Immunity             From Liability > Legislative Functions
    From Liability > Legislative Functions
                                                                   Constitutional Law > Congressional Duties &
    Constitutional Law > Congressional Duties &                    Powers > Speech & Debate Immunity
    Powers > Speech & Debate Immunity
                                                               HN11[ ] Immunity         From     Liability,   Legislative
    Evidence > Privileges > Government                         Functions
    Privileges > Executive Privilege
                                                               If a Member's act qualifies as legislative under Gravel v.
HN9[ ]    Immunity       From     Liability,   Legislative     United States, the Speech or Debate Clause privilege
Functions                                                      privilege applies and the Clause confers three absolute
                                                               protections. First, the privilege includes immunity from
Members may engage in a variety of legitimate actions          suit—a Member may not be sued or prosecuted for his
within the duties of their office without triggering the       legislative acts. Second, the privilege includes an
Speech or Debate Clause privilege. Legitimate activities       evidentiary privilege—legislative acts may not be
of a political nature, such as errands' performed for          introduced into evidence even when the government
constituents, the making of appointments with                  seeks to punish a Member for non-legislative acts.
Government agencies, assistance in securing                    Third, the privilege encompasses a testimonial privilege
Government contracts, and speeches delivered outside           not to be questioned in any other Place. U.S. Const. art.
the Congress are not necessarily privileged. The act of        I, § 6, cl. 1. This means that only Congress, not the
sending political newsletters to constituents is not           Executive or Judiciary, may force a Member to testify
privileged. And cajoling and exhorting members of the          about legislative acts. Legislative acts receive these
Executive Branch with respect to the administration of a       protections regardless of the Member's subjective
federal statute is not protected legislative activity. There   motives. It is not consonant with the scheme of
is a difference between actions taken by legislators,          government for a court to inquire into the motives of
however frequently, and legislative activity protected by      legislators.
the immunity of the Speech or Debate Clause. The
privilege does not turn on whether an action is in some
general sense official; rather, it turns on whether it is a
                                                                   Constitutional Law > Congressional Duties &
legislative act within the scope of Gravel v. United
                                                                   Powers > Speech & Debate Immunity
States. Beyond actual speech or debate, an act is
considered legislative only if it falls within one of              Evidence > Privileges > Self-Incrimination
Gravel's two categories. And unlike executive privilege,           Privilege > Exceptions
which may extend to the outer perimeter of official
duties, the Clause does not protect acts that are not          HN12[ ] Congressional Duties & Powers, Speech &
legislative in nature, even if they are performed in a         Debate Immunity
Member's official capacity.
                                                               One aspect of the testimonial privilege is a limited
                                                               protection against the compelled disclosure of
    Constitutional Law > Congressional Duties &                documents. The testimonial immunity of the Speech or
    Powers > Speech & Debate Immunity                          Debate Clause applies beyond the direct questioning of


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Members because documentary evidence can certainly                Constitutional Law > Congressional Duties &
be as revealing as oral communications. Just as the               Powers > Speech & Debate Immunity
other branches may not compel verbal testimony
concerning legislative acts, they may not force Members           Governments > Federal Government > US
to hand over documentary evidence of those acts.                  Congress
Similarly, a private litigant is no more entitled to compel
the congressional production of documents than it is to       HN17[ ] Congressional Duties & Powers, Speech &
sue congressmen. The Clause protects against the              Debate Immunity
compelled disclosure of privileged documents but not
the disclosure of non-privileged materials.                   An official congressional investigation is essential to
                                                              legislating and covered by the Speech or Debate Clause
                                                              privilege so long as the subcommittee stays within its
                                                              province.
    Constitutional Law > Congressional Duties &
    Powers > Speech & Debate Immunity

HN13[ ] Congressional Duties & Powers, Speech &                   Constitutional Law > Congressional Duties &
Debate Immunity                                                   Powers > Speech & Debate Immunity

The Speech or Debate Clause privilege applies                 HN18[ ] Congressional Duties & Powers, Speech &
whenever the Executive Branch searches a location             Debate Immunity
where legislative materials are inevitably to be found.
                                                              In order for an activity to be considered essential to
                                                              legislating it must be an integral part of the deliberative
                                                              and communicative processes' dealing with matters
    Governments > Courts > Authority to Adjudicate            within the jurisdiction of Congress. And even authorized
                                                              factfinding may not be privileged if it goes beyond the
HN14[    ] Courts, Authority to Adjudicate
                                                              reasonable requirements of the legislative function.
Federal courts have no more right to decline the
exercise of jurisdiction which is given, than to usurp that
which is not given.                                               Constitutional Law > Congressional Duties &
                                                                  Powers > Speech & Debate Immunity

                                                              HN19[ ] Congressional Duties & Powers, Speech &
    Governments > Legislation > Interpretation
                                                              Debate Immunity
HN15[    ] Legislation, Interpretation
                                                              The Speech or Debate Clause privilege permits
                                                              Congress to conduct investigations and obtain
A given act is legislative if it is an integral part of
                                                              information without interference from the courts, at least
relevant House or committee proceedings.
                                                              when these activities are performed in a procedurally
                                                              regular fashion.

    Constitutional Law > Congressional Duties &
    Powers > Speech & Debate Immunity
                                                                  Constitutional Law > Congressional Duties &
                                                                  Powers > Speech & Debate Immunity
HN16[ ] Congressional Duties & Powers, Speech &
Debate Immunity
                                                              HN20[ ] Congressional Duties & Powers, Speech &
                                                              Debate Immunity
In assessing whether the Speech or Debate Clause
privilege applies, courts undertake a fact-specific inquiry
                                                              An investigation authorized by the House and within its
under Gravel v. United States.
                                                              jurisdiction is an exercise of congressional power and by
                                                              definition part of a legislative proceeding, but formal
                                                              authorization is neither necessary nor sufficient for the

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Speech or Debate Clause privilege to attach to the wide
range of activities that could be denominated
investigative or factfinding. Rather, courts consider the         Constitutional Law > Congressional Duties &
specific facts to determine whether a particular action is        Powers > Speech & Debate Immunity
a legislative act within the test articulated by Gravel v.
United States.                                                HN24[ ] Congressional Duties & Powers, Speech &
                                                              Debate Immunity

                                                              The Speech or Debate Clause has been limited to an
    Governments > Courts > Authority to Adjudicate            act which was clearly a part of the legislative process—
                                                              the due functioning of the process. Informal factfinding
HN21[    ] Courts, Authority to Adjudicate
                                                              encompasses a wide spectrum of acts that may or may
                                                              not be related, much less integral, to House deliberative
When a privilege argument rests on the assertion that a
                                                              and communicative processes. Cases applying the
House of Congress validly exercised its investigative
                                                              Gravel v. United States test to specific acts demonstrate
power, the scope of that investigative power is relevant
                                                              that informal factfinding has no necessary connection to
to the inquiry and the court considers whether the
                                                              the privilege. Not everything under the informal
investigation concerns a subject on which legislation
                                                              factfinding umbrella is protected.
may be had.


                                                                  Constitutional Law > Congressional Duties &
    Constitutional Law > Congressional Duties &
                                                                  Powers > Speech & Debate Immunity
    Powers > Speech & Debate Immunity
                                                              HN25[ ] Congressional Duties & Powers, Speech &
HN22[ ] Congressional Duties & Powers, Speech &
                                                              Debate Immunity
Debate Immunity
                                                              Communications with individuals outside of Congress
Not all communications that may influence a vote are
                                                              may qualify for the Speech or Debate Clause privilege.
privileged; rather, the proper test is whether such
                                                              To determine whether a particular matter or action is
communications are integral or essential to deliberations
                                                              privileged, courts must apply the test in Gravel v. United
or otherwise satisfy the requirements of Gravel v. United
                                                              States in a manner consistent with the principles
States.
                                                              undergirding the Clause.


    Constitutional Law > ... > Fundamental
                                                                  Constitutional Law > Congressional Duties &
    Freedoms > Freedom of Speech > Scope
                                                                  Powers > Speech & Debate Immunity
    Constitutional Law > Congressional Duties &
                                                                  Governments > Federal Government > US
    Powers > Speech & Debate Immunity
                                                                  Congress
HN23[ ]     Fundamental       Freedoms,     Freedom     of
                                                              HN26[ ] Congressional Duties & Powers, Speech &
Speech
                                                              Debate Immunity
The Speech or Debate privilege undoubtedly assures a
                                                              Not everything a Member of Congress may regularly do
co-equal branch of the government wide freedom of
                                                              is a legislative act within the protection of the Speech or
speech, debate, and deliberation without intimidation or
                                                              Debate Clause.
threats from the Executive Branch. But under Gravel v.
United States, the Clause does not protect acts that are
not legislative in nature, even if they are performed in a
Member's official capacity. Privileged legislative acts are       Administrative Law > ... > Defenses & Exemptions
only a subset of the various activities a Member may              From Public Disclosure > Interagency
undertake as part of his official duties and                      Memoranda > Deliberative Process Privilege
responsibilities.

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    Constitutional Law > Congressional Duties &
    Powers > Speech & Debate Immunity
                                                            RAO, Circuit Judge: This case concerns the application
HN27[ ] Interagency         Memoranda,      Deliberative    of the Speech or Debate Clause privilege to the
Process Privilege                                           contents of Representative Scott Perry's cell phone,
                                                            which was seized by the Federal Bureau of Investigation
With regard to the Speech or Debate Clause,                 pursuant to a warrant. In a district court motion,
discussions between Members about pending votes are         Representative Perry argued the Clause bars the
things generally done in a session of the House by one      government from reviewing many of the messages
of its members in relation to the business before it, and   stored on the phone. As to communications with
such discussions are within the heartland of the            Executive Branch officials and parties outside of
deliberative and communicative processes by which           Congress, Representative Perry argues that his
Members participate in committee and House                  messages are necessarily privileged because they
proceedings with respect to the consideration and           constitute "informal factfinding"—a capacious category
passage or rejection of proposed legislation or other       he asserts [*2] is always privileged and includes a
matters within the House's jurisdiction.                    Member's attempts to obtain information related to
                                                            topics of upcoming votes without express House
                                                            authorization.
    Constitutional Law > Congressional Duties &
                                                            We disagree. Because at least some informal factfinding
    Powers > Speech & Debate Immunity
                                                            is unprotected under our caselaw, Representative
                                                            Perry's categorical rule fails. HN1[ ] Under Supreme
HN28[ ] Congressional Duties & Powers, Speech &
                                                            Court and circuit precedent, the proper inquiry is fact-
Debate Immunity
                                                            specific and considers whether the act is "legislative,"
                                                            i.e., "an integral part of the deliberative and
Federal courts must determine the outer boundaries of
                                                            communicative processes by which Members
the Speech or Debate Clause privilege. But when a
                                                            participate in committee and House proceedings with
Member engages in a legislative act, the court cannot
                                                            respect to the consideration and passage or rejection of
carve out from the privilege certain topics of discussion
                                                            proposed legislation or with respect to other matters
by labeling them merely incidental or by deeming them
                                                            which the Constitution places within the jurisdiction of
illegitimate. For courts to pick and choose the scope of
                                                            either House." Gravel v. United States, 408 U.S. 606,
the privilege based on a free-floating evaluation of the
                                                            625, 92 S. Ct. 2614, 33 L. Ed. 2d 583 (1972).
proper objects of congressional deliberation would
threaten the Speech or Debate Clause's essential            Some acts of informal factfinding, however, might satisfy
protection for legislative independence.                    the Gravel test, and so we reject the district court's
                                                            categorical holding that such acts are never legislative
Counsel: John P. Rowley, III argued the cause for
                                                            acts subject to the privilege. With respect to
appellant. With him on the briefs were John S. Irving,
                                                            Representative Perry's communications with Executive
Stan M. Brand, and Stanley E. Woodward, Jr.
                                                            Branch officials and others outside of Congress, we
John M. Pellettieri, Assistant Special Counsel, U.S.        remand for the district court to apply the Gravel
Department of Justice, argued the cause for appellee.       standard on a communication-by-communication basis.
With him on the brief were J.P. Cooney, Deputy Special
Counsel, and Raymond N. Hulser, Counselor to the            As to Representative Perry's communications [*3] with
Special Counsel.                                            Members of Congress and congressional staff, we
                                                            affirm in large measure. The district court, however,
Judges: Before: HENDERSON, KATSAS, and RAO,                 incorrectly withheld the privilege from communications
Circuit Judges. Opinion for the Court filed by Circuit      between Representative Perry and other Members
Judge RAO. Concurring opinion filed by Circuit Judge        about the 2020 election certification vote and a vote on
KATSAS.                                                     proposed election reform legislation. These are
                                                            quintessential legislative acts entitled to the privilege,
Opinion by: RAO                                             and we vacate the district court's judgment with respect
                                                            to those communications and remand.
Opinion                                                     I.

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Scott     Perry     represents    Pennsylvania's     10th     disclose all but 164 of them.1 In re Search of Forensic
Congressional District in the House of Representatives.       Copy of Cell Phone of Representative Scott Perry ("In re
After the 2020 presidential election, Representative          Search"), No. 1:22-sc-02144, slip op. at 51 (D.D.C. Dec.
Perry used his personal cell phone to send and receive        28, 2022). The court held informal factfinding is never a
communications concerning allegations of fraud in that        legislative act and therefore these communications are
election. Some of these communications were with              outside the Clause's scope. The court based this
fellow Members of Congress or with congressional staff.       conclusion on the principle that formal factfinding—i.e.,
Representative Perry also communicated with members           investigation pursuant to official authorization of a
of the Executive Branch and with individuals outside the      House of Congress—is protected under the Clause. The
federal government. He sent and received many of              court inferred the privilege does not attach to factfinding
these communications before the House voted on                in the absence of such official authorization. Id. at 21.
whether to certify the electoral votes from the 2020
election. See U.S. Const. amend. XII (directing that "the     The court sorted the communications into three
President of the Senate shall, in the presence of the         categories. As to category (1), Representative Perry's
Senate and House of [*4] Representatives, open all the        communications with individuals outside the federal
[Electors'] certificates and the votes shall then be          government, the district court concluded these
counted"); Electoral Count Act of 1887, ch. 90, 24 Stat.      communications were not privileged because they were
373 (codified as amended at 3 U.S.C. § 15) (providing         informal [*6] factfinding. Id. at 28-39. As to category (2),
procedures for the congressional certification vote).         Representative Perry's communications with other
Other communications occurred with respect to a vote          Members of Congress and with congressional staff, the
on proposed legislation to alter election procedures. For     district court held some of these communications were
the People Act of 2021, H.R. 1, 117th Cong.                   privileged legislative acts, while others were too far
                                                              removed from the legislative process. Id. at 39-46. As to
In August 2022, a magistrate judge of the Middle District     category (3), Representative Perry's communications
of Pennsylvania issued a search warrant authorizing the       with members of the Executive Branch, the district court
FBI to seize Representative Perry's phone and create a        held none of these communications were privileged
forensic copy of its contents. After executing the            because they were "political" or not factfinding at all. Id.
warrant, the FBI sought a separate search warrant from        at 48-51.
the District Court for the District of Columbia to review
the forensic copy. The court granted the warrant, with        We stayed the district court's order pending appeal and
the proviso that Representative Perry would have an           expedited the case. Our review is de novo. See Ass'n of
opportunity to assert any claims of privilege under the       Am. Physicians & Surgeons, Inc. v. Schiff, 23 F.4th
Speech or Debate Clause before the government could           1028, 1032, 455 U.S. App. D.C. 324 (D.C. Cir. 2022).
review the phone's contents. For this procedure, the          II.
district court relied on United States v. Rayburn House
Office Building, which held the Executive Branch must         At the outset, the government maintains we lack
"afford[] [a] Congressman an opportunity to assert the        jurisdiction over this appeal because orders requiring
[Speech or Debate] privilege" before reviewing materials      the disclosure of documents or records are ordinarily not
that likely contain privileged items. See 497 F.3d 654,       immediately appealable. The subject of a disclosure
663, 378 U.S. App. D.C. 139 (D.C. Cir. 2007).                 order must usually "refuse to comply and litigate
                                                              [disclosure] questions in the event that contempt or
Representative      Perry      filed  a    "Motion      for   similar proceedings are brought against him"; he may
Nondisclosure" [*5] in district court, arguing 2,219          then appeal any resulting contempt order. Gov't Br. 15-
communications were privileged from disclosure under          16 (quoting United States v. Ryan, 402 U.S. 530, 532,
the Speech or Debate Clause. He contended that the            91 S. Ct. 1580, 29 L. Ed. 2d 85 (1971)). The
Clause protects Members' efforts at informal factfinding.     government argues this rule applies here, so that
In his view, a Member's attempts to gather information        Representative Perry's only route to appellate review is
related to upcoming votes are always privileged
legislative acts because investigation is essential to the
wise exercise of the legislative power.                       1 The communications remain under seal, as do some of the

                                                              district court proceedings. This opinion cites only to the
Following an in camera review of the contested records,
                                                              unsealed portions of the record, and it cites only to parts of the
the district court ordered Representative Perry to
                                                              parties' briefs that do not concern sealed material.

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to incur contempt and [*7] appeal from that order. We          HN4[ ] The Speech or Debate privilege concerns the
disagree.                                                      separation of powers; it is rarely invoked; and it is
                                                               uniquely important to the fulfillment of governmental
Under our precedent, the district court's partial denial of    functions. See United States v. Johnson, 383 U.S. 169,
Representative Perry's nondisclosure motion is an              179, 86 S. Ct. 749, 15 L. Ed. 2d 681 (1966). By
immediately appealable collateral order. HN2[ ] The            recognizing the unique status of governmental
collateral order doctrine treats some decisions as "final"     privileges, Mohawk left our precedent untouched. HN5[
even if they do not terminate the case. Cohen v.                  ] Following Rayburn and In re Grand [*9] Jury
Beneficial Indus. Loan Corp., 337 U.S. 541, 545-46, 69         Subpoenas, the denial of a claim of Speech or Debate
S. Ct. 1221, 93 L. Ed. 1528 (1949); 28 U.S.C. § 1291           Clause privilege over documents is an immediately
(providing jurisdiction in the courts of appeals over "final   appealable collateral order, and so we have jurisdiction
decisions"). This is a "small category," and it "includes      over Representative Perry's appeal.2
only decisions that are conclusive, that resolve
                                                               III.
important questions separate from the merits, and that
are effectively unreviewable on appeal from the final
                                                               Representative Perry invokes the Speech or Debate
judgment in the underlying action." Swint v. Chambers
                                                               Clause to protect over two thousand documents and
Cnty. Comm'n, 514 U.S. 35, 42, 115 S. Ct. 1203, 131 L.
                                                               communications on his cell phone against disclosure to
Ed. 2d 60 (1995).
                                                               the Executive Branch. To evaluate his claims, we begin
                                                               by setting forth our well-established framework for
This court has applied the collateral order doctrine in
                                                               considering whether a particular matter comes within
Speech or Debate cases involving the protection of
                                                               the Clause's coverage.
Members' documents. In Rayburn, we held a district
court's denial of a "[c]ongressman's motion for return of      A.
... seized materials" on Speech or Debate grounds was
a collateral order. 497 F.3d at 657-59. And in In re           HN6[ ] The Speech or Debate Clause provides that
Grand Jury Subpoenas, we reached the same                      "for any Speech or Debate in either House, [Senators
conclusion with respect to the district court's denial of a    and Representatives] shall not be questioned in any
motion to quash a subpoena on Speech or Debate                 other Place." U.S. Const. art. I, § 6, cl. 1. In the
grounds. 571 F.3d 1200, 1201-02, 387 U.S. App. D.C.            Constitution's careful separation of powers, the Clause
117 (D.C. Cir. 2009). Here, a Member of Congress               serves to safeguard the independence of Congress,
asserted the Speech or Debate privilege by way of an           "prevent[ing] intimidation of legislators by the Executive
evidentiary motion in district court, asserting [*8] that      and accountability before a possibly hostile judiciary."
the Executive was wrongfully attempting to review              Gravel, 408 U.S. at 617. The Clause is "one
privileged documents. The district court partially denied      manifestation of the [Constitution's] 'practical security'
the motion. That is an immediately appealable collateral       for ensuring the independence of the legislature."
order under a straightforward application of Rayburn           Johnson, 383 U.S. at 179 (quoting THE FEDERALIST NO.
and In re Grand Jury Subpoenas.                                48, at 332 (James Madison) (Jacob E. Cooke ed.,
                                                               1961)); see also 2 JOSEPH STORY, COMMENTARIES ON
The government contends we lack jurisdiction because           THE CONSTITUTION § 863 (1st ed. 1833) (calling the
of Mohawk Industries, Inc. v. Carpenter, 558 U.S. 100,         privilege a "great and vital" one, "without which all other
130 S. Ct. 599, 175 L. Ed. 2d 458 (2009). HN3[ ] In            privileges would be comparatively unimportant, [*10] or
Mohawk, the Supreme Court held a district court's              ineffectual").
disclosure order is not immediately appealable even
when the attorney-client privilege is at stake. Id. at 103.    While the privilege's core is speech and debate in either
Yet the Court reserved judgment on whether the denial          House, it has long been recognized to reach other acts
of a governmental privilege should be treated the same
as a private privilege, "express[ing] no view" on whether
                                                               2 Representative  Perry also argues that, even without the
"collateral order appeals should be available for rulings
involving certain governmental privileges in light of their    collateral order doctrine, the district court's order was final
                                                               because it "end[ed] the litigation on the merits and le[ft]
structural constitutional grounding under the separation
                                                               nothing for the court to do but execute the judgment." Catlin v.
of powers, relatively rare invocation, and unique
                                                               United States, 324 U.S. 229, 233, 65 S. Ct. 631, 89 L. Ed. 911
importance to governmental functions." Id. at 113 n.4
                                                               (1945). Because we have jurisdiction under the collateral order
(cleaned up).                                                  doctrine, we do not address this alternative argument.

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within legislative proceedings.3 In 1808, the Supreme             COMMENTARIES § 863; see also Hutchinson v. Proxmire,
Judicial Court of Massachusetts, interpreting a nearly            443 U.S. 111, 126, 99 S. Ct. 2675, 61 L. Ed. 2d 411
identical legislative privilege in that state's constitution,     (1979) (quoting this passage with approval).
refused to "confine [the privilege] to delivering an
opinion, uttering a speech, or haranguing in debate,"             In adjudicating the scope of the privilege, courts have
and instead extended it to voting, making written                 consistently recognized both the privilege's importance
reports, and "to every other act resulting from the               for congressional independence and the limits of the
nature, and in the execution, of the office." Coffin v.           privilege to acts within the legislative sphere. For
Coffin, 4 Mass. (3 Tyng) 1, 27 (1808). The Supreme                instance, the Coffin court emphasized the privilege
Court subsequently called Coffin "perhaps ... the most            attaches only to a legislator's words or acts made "in the
authoritative case in this country on the construction of         character of a representative" and while "executing the
the [Speech or Debate Clause] in regard to freedom of             duties of his office." 4 Mass. at 29-31. In [*12] Johnson,
debate in legislative bodies," noting it was decided              the Court explained the privilege "will be read broadly to
"early after the formation of the Constitution of the             effectuate its purposes," but limited the Clause's
United States." Kilbourn v. Thompson, 103 U.S. 168,               protection to barring a conspiracy charge insofar as it
204, 26 L. Ed. 377 (1881). And when the Supreme                   was based on a Member's speech, while allowing the
Court considered the Clause's reach for the first time, it        prosecution to proceed for matters unrelated to the
followed Coffin, holding the Clause went beyond "words            speech. 383 U.S. at 172, 180, 185. And in United States
spoken in debate" to include written reports and                  v. Brewster, the Court maintained it would not be "wise,
resolutions, voting, and other "things generally done in a        simply out of an abundance of caution to doubly insure
session of the House by one of its members in relation            legislative independence, to extend the privilege beyond
to the business before it." Id.                                   its intended scope, its literal language, and its history, to
                                                                  include all things in any way related to the legislative
HN7[ ] While the Clause covers more than literal                  process." 408 U.S. 501, 516, 92 S. Ct. 2531, 33 L. Ed.
speech and debate, its reach has always been confined             2d 507 (1972) (emphasis added).
to legislative acts undertaken within the legislative
process. Thomas Jefferson commented the privilege "is             The Supreme Court synthesized the Clause's history in
restrained to things done in the House in a                       a pair of cases that set forth the modern test for what
Parliamentary course" and does not attach "contra                 types of "legislative acts" beyond pure speech and
morem parliamentarium [against parliamentary custom],             debate are privileged under the Clause. HN8[ ] In
to exceed the bounds and limits of [a Member's] place             Brewster, the Court noted "[a] legislative act has
and duty." 1 THOMAS JEFFERSON, A MANUAL OF                        consistently been defined as an act generally done in
PARLIAMENTARY PRACTICE 23-24 (2d ed. 1812) (italics               Congress in relation to the business before it" and that
added). Joseph Story similarly stated the privilege "is           not all "conduct related to the due functioning of the
strictly confined to things done in the course of                 legislative process" is automatically privileged. Id. at
parliamentary proceedings, and does not cover things              512, 513-14 (cleaned up). And in Gravel, the Court
done beyond the place and limits of duty." 2 STORY,               further clarified:

                                                                      Legislative acts are not all-encompassing. The
                                                                      heart of [*13] the Clause is speech or debate in
3 The    Clause mirrors the language of the English                   either House. Insofar as the Clause is construed to
parliamentary privilege, and that history has at times been
                                                                      reach other matters, they must be an integral part
relevant for understanding the Clause but within the context of
                                                                      of the deliberative and communicative processes by
Congress's limited legislative powers. See, e.g., 2 STORY,
                                                                      which Members participate in committee and House
COMMENTARIES § 863 (explaining the American "privilege ... is
derived from the practice of the British parliament" but              proceedings [1] with respect to the consideration
acknowledging "important distinction[s] arising from the actual       and passage or rejection of proposed legislation or
differences between English and American legislation");               [2] with respect to other matters which the
Kilbourn v. Thompson, 103 U.S. 168, 201, 26 L. Ed. 377                Constitution places within the jurisdiction of either
(1881) ("[W]hile the framers of the Constitution did not adopt        House.
the lex et [*11] consuetudo of the English Parliament as a
whole, they did incorporate such parts of it, and with it such    408 U.S. at 625.
privileges of Parliament, as they thought proper to be applied
to the two Houses of Congress."); Johnson, 383 U.S. at 180-       The Court's subsequent cases leave no doubt: Gravel
83 (discussing English history and the Clause's purposes).

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sets forth the criterion for assessing the reach of the        members of the Executive Branch "with respect to the
Speech or Debate privilege. In Doe v. McMillan, the            administration of a federal statute ... is not protected
Court held the privilege did not apply to acts that were       legislative activity." Gravel, 408 U.S. at 625. While such
"not an essential part of the legislative process and          acts are all in a day's work for a Member of Congress,
[were] not part of that deliberative process 'by which         they are not privileged under the Speech or Debate
Members participate in committee and House                     Clause.
proceedings.'" 412 U.S. 306, 315, 93 S. Ct. 2018, 36 L.
Ed. 2d 912 (1973) (quoting Gravel, 408 U.S. at 625).           These decisions highlight that "there is a difference
There, the Member maintained the privilege should              between actions taken by legislators, however
attach to acts that served legislative functions, but that     frequently, and legislative activity protected by the
argument was unavailing because the acts were not              immunity of the Speech or Debate Clause." McSurely v.
"legislative" within the meaning of Gravel. Id. at 313-14.     McClellan, 553 F.2d 1277, 1286 n.28, 180 U.S. App.
In Eastland v. United States Servicemen's Fund, the            D.C. 101 (D.C. Cir. 1976) (en banc) (majority opinion).4
Court "specifically" made clear that the judicial task is to   The privilege does not turn on whether an action is in
"determine whether the [contested] activities are"             some general sense "official"; rather, it turns on whether
within [*14] Gravel's definition of "legislative acts." 421    it is a legislative act within the scope of Gravel. As we
U.S. 491, 504, 95 S. Ct. 1813, 44 L. Ed. 2d 324 (1975).        have explained, "[b]eyond actual speech or debate, an
In Hutchinson, the Court quoted Gravel at length and           act is considered 'legislative' only if" it falls within one of
similarly described its formulation as the controlling         Gravel's two categories. Massie v. Pelosi, 72 F.4th 319,
"definition of the scope of the Clause." 443 U.S. at 126-      322 (D.C. Cir. 2023) (emphasis added); see also, e.g.,
27; see also United States v. Helstoski, 442 U.S. 477,         McCarthy v. Pelosi, 5 F.4th 34, 39, 453 U.S. App. D.C.
492, 99 S. Ct. 2432, 61 L. Ed. 2d 12 (1979) (citing            305 (D.C. Cir. 2021); United States v. Rostenkowski, 59
Gravel favorably).                                             F.3d 1291, 1302, 313 U.S. App. D.C. 303 (D.C. Cir.
                                                               1995). And unlike executive privilege, which may extend
When evaluating whether something is a "legislative            to "the outer perimeter of ... official duties," Chastain v.
act" within the meaning of Gravel, the Court will often        Sundquist, 833 F.2d 311, 315, 266 U.S. App. D.C. 61
consider whether protection of the privilege is                (D.C. Cir. 1987), the "Clause ... does [*16] not protect
"necessary to preserve the integrity of the legislative        acts that are not legislative in nature, even if they are
process," Brewster, 408 U.S. at 517; whether the               performed in a Member's official capacity," United
"independence" of the legislature is at stake, Eastland,       States v. Rose, 28 F.3d 181, 187, 307 U.S. App. D.C.
421 U.S. at 511; and whether the actions at issue are          314 (D.C. Cir. 1994) (cleaned up); see also Fields v.
things "generally done in the course of the process of         Office of Eddie Bernice Johnson, 459 F.3d 1, 12-13, 373
enacting legislation," Hutchinson, 443 U.S. at 131 (citing     U.S. App. D.C. 32 (D.C. Cir. 2006) (en banc) (plurality
Kilbourn, 103 U.S. at 204) (cleaned up). These                 opinion) (distinguishing executive and legislative
considerations are important for understanding the             privileges and explaining "[i]t is not enough that a
scope of the Speech or Debate Clause, and they help to         Member's conduct is within the outer perimeter of the
flesh out the application of the Gravel criteria to specific   legislative process").
facts.
                                                               HN10[ ] Across a wide variety of factual
The Clause's coverage for legislative acts is further          circumstances, the Supreme Court and this circuit have
delineated by what is not privileged. HN9[ ] The               faithfully applied the Gravel test and the principles
Supreme Court has repeatedly emphasized that                   animating it to determine whether an act is legislative
Members may engage in a variety of legitimate actions          and therefore privileged under the Speech or Debate
within the duties of their office without triggering the       Clause.
privilege. For instance, "legitimate activities [of a]
political ... nature," such as "'errands' performed for        B.
constituents, the making [*15] of appointments with
                                                               HN11[ ] If a Member's act qualifies as legislative under
Government agencies, assistance in securing
                                                               Gravel, the privilege applies and the Clause confers
Government contracts, ... and speeches delivered
                                                               three "absolute" protections. See Eastland, 421 U.S. at
outside the Congress" are not necessarily privileged.
Brewster, 408 U.S. at 512. The act of sending political
newsletters to constituents is not privileged. Hutchinson,     4 Unless  otherwise noted, we cite to the McSurely majority
443 U.S. at 130. And "cajol[ing] ... and exhort[ing]"
                                                               opinion, not the short per curiam opinion that preceded it.

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509. First, the privilege includes immunity from suit—a        reiterated that the Clause "protects against the
Member may not be sued or prosecuted for his                   compelled disclosure of privileged documents ... but not
legislative acts. Id. at 502. Second, the privilege            the disclosure of non-privileged materials." Id. at 664.
includes an evidentiary privilege—legislative acts may         We explained the Representative must be given some
not be introduced into evidence even when the                  opportunity to assert the privilege in court before the
government seeks to punish a Member for non-                   Executive could view the documents. Id. at 662-63. It is
legislative acts. Johnson, 383 U.S. at 176-77. Third, the      this testimonial protection that Representative Perry
privilege encompasses a testimonial privilege not to "be       invokes over the communications and materials on his
questioned in any other Place." U.S. Const. art. I, § 6, cl.   cell phone.
1. This means that only Congress, not the Executive or
                                                               IV.
Judiciary, [*17] may force a Member to testify about
legislative acts. Gravel, 408 U.S. at 616. Legislative acts    Representative Perry claims the Speech or Debate
receive these protections regardless of the Member's           Clause privilege protects many of the communications
subjective motives. See Tenney v. Brandhove, 341 U.S.          on his cell phone. With respect to communications with
367, 377, 71 S. Ct. 783, 95 L. Ed. 1019 (1951) ("[I]t [i]s     individuals outside the federal government and with
not consonant with our scheme of government for a              Executive Branch officials, categories (1) and (3) of the
court to inquire into the motives of legislators.").           district court's analysis, [*19] Representative Perry
                                                               argues these are privileged because they constitute
HN12[ ] In addition, this court also recognizes that one       informal factfinding.5 This category is somewhat
aspect of the testimonial privilege is a limited protection    capacious      and      not    clearly   delineated,     but
against the compelled disclosure of documents. In              Representative Perry's definition seems to be: a
Brown & Williamson Tobacco Corp. v. Williams, we               Member's individual efforts to obtain information related
explained the "testimonial immunity of the Speech or           to an upcoming vote in the absence of formal House or
Debate Clause" applies beyond the direct questioning of        committee authorization. See, e.g., Perry Br. 11
Members because "[d]ocumentary evidence can                    (framing the case as concerning "the fact-gathering
certainly be as revealing as oral communications." 62          communications that Rep. Perry conducted, as a
F.3d 408, 420, 314 U.S. App. D.C. 85 (D.C. Cir. 1995);         Member of Congress, to inform his legislative actions");
see also MINPECO, S.A. v. Conticommodity Servs.,               id. at 17 ("[L]egislative acts include formal and informal
Inc., 844 F.2d 856, 269 U.S. App. D.C. 238 (D.C. Cir.          fact-finding, and efforts to help inform consideration of
1988). Just as the other branches may not compel               an upcoming vote.") (cleaned up); id. at 32 ("Each of
verbal testimony concerning legislative acts, they may         th[e] communications should be viewed ... in the context
not force Members to hand over documentary evidence            of Rep. Perry's efforts to seek information that was
of those acts. See United States v. Hubbell, 530 U.S.          closely    tied    to    his    official responsibilities.").
27, 40, 120 S. Ct. 2037, 147 L. Ed. 2d 24 (2000) (While        Representative       Perry    maintains    that   anything
"compelled testimony ... is not to be found in the             constituting informal factfinding is a legislative act
contents of the documents produced in response to [a]          protected by the Clause—that such matters are
subpoena," compelled testimony is often "inherent in the       categorically privileged from disclosure. The district
act of producing those documents.") (cleaned up).              court resolved this categorical argument with a
Similarly, a private litigant "is no more entitled to compel   categorical holding that informal factfinding is never
[the] congressional ... production of documents ... than it    protected by the Clause. See In re Search, slip op. at
is to sue congressmen." [*18] Brown & Williamson, 62           21. The government [*20] defends the district court's
F.3d at 421.
                                                               categorical holding.6 See Gov't Br. 41-47.
In Rayburn, we applied these cases to an extraordinary
circumstance,      the    Executive's    search     of  a
                                                               5 Representative  Perry's claim for privilege with respect to
Representative's House office pursuant to a warrant.
497 F.3d at 663 (remarking that "[t]he historical record       category (2), his communications with other Members of
[is] utterly devoid of Executive searches of                   Congress and congressional staffers, does not hinge on his
                                                               informal factfinding arguments, and we consider these
congressional offices"). Given the location of the search,
                                                               communications in Part V.
we assumed it "must have resulted in the disclosure of
legislative materials to agents of the Executive," and we      6 The government also argues we need not review the district
noted that such a broad disclosure would violate the           court's privilege determinations at all. First, the government
Clause's testimonial privilege. Id. at 661. But we also        asks us to limit Rayburn to searches of physical offices, as

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The problem with this litigating posture, however, is that           privileged, the district court relies primarily on Eastland
Representative Perry considers a variety of actions to               and McSurely. These cases, however, do not establish
constitute so-called informal factfinding, and under our             a categorical privilege rule for formal (i.e.,
precedents not all of these actions are legislative acts.            congressionally authorized) factfinding, much less for
Because not everything included in this novel category               informal factfinding. Rather, these cases simply apply
satisfies the test articulated in Gravel, the category does          Gravel and established legal principles to determine
not settle the question of whether the communications                whether some actions taken pursuant to formally
are privileged. HN15[ ] Rather, a given act is                       authorized investigations are legislative and therefore
legislative if it is an "integral part of" relevant House or         privileged.
committee "proceedings." Gravel, 408 U.S. at 625. It is
possible that some communications within the informal                For instance, in Eastland, the Supreme Court held the
factfinding category could be privileged, and therefore              privilege attached to the issuance of a subpoena by a
we disagree with the district court's holding that informal          subcommittee acting pursuant to a Senate authorized
factfinding is never a legislative act. But we also reject           national security investigation. 421 U.S. at 503-07. The
Representative Perry's proposition that informal                     subpoena sought the bank records of a non-profit
factfinding is always a legislative act.                             organization, and the organization sued the
                                                                     subcommittee's chairman, other senators, and a
HN16[ ] In assessing whether the privilege applies, the              subcommittee attorney, seeking injunctive and
Supreme Court and this circuit undertake a fact-specific             declaratory relief. Id. at 494-95. The Court began by
inquiry under Gravel. Because the district court is better           considering whether the subpoena was "within the
positioned to apply the correct fact-specific inquiry in the         legitimate legislative sphere" and whether the acts "took
first [*21] instance, we vacate and remand this part of              place 'in a session of the House by one of its members
the order.                                                           in relation to the business before it.'" Id. at 503 (cleaned
A.                                                                   up) (quoting Kilbourn, 103 U.S. at 204). HN17[ ] The
                                                                     Court [*22] emphasized that an official congressional
In holding that informal factfinding is categorically not            investigation is "essential to legislating" and covered by
                                                                     the privilege so long as the subcommittee stays within
opposed to Members' cell phones. HN13[ ] Rayburn,                    its "province." Id. at 507 (cleaned up); see also Trump v.
however, explained that the privilege applies whenever the           Mazars USA, LLP, 140 S. Ct. 2019, 2031, 207 L. Ed. 2d
Executive Branch searches "a location where legislative              951 (2020) (explaining Congress enjoys an investigative
materials [a]re inevitably to be found." 497 F.3d at 661. A          power that has defined limits and "is justified solely as
Member's cell phone is realistically such a location. Cf. Riley v.   an adjunct to the legislative process") (cleaned up).
California, 573 U.S. 373, 386, 134 S. Ct. 2473, 189 L. Ed. 2d        More specifically, the issued subpoena "concerned a
430 (2014) ("Cell phones ... place vast quantities of personal       subject on which legislation could be had," and the
information literally in the hands of individuals.").                Members' decision to issue it was consequently "an
                                                                     integral part of the legislative process" within the scope
Second, the government contends Rayburn guarantees
                                                                     of Gravel. Eastland, 421 U.S. at 505-06 (cleaned up). In
Representative Perry only the opportunity to assert the
privilege in district court, with no right to appeal, because
                                                                     these circumstances, the issuance of the subpoena was
Rayburn is merely a procedural case holding that a district          a privileged legislative act.
court must conduct one layer of review before disclosure to
the Executive. The government's somewhat baffling view is
                                                                     The Court has been careful to maintain, however, that
that once this single layer of review is complete, right or          not everything done pursuant to formal authorization is
wrong, there is nothing more for an appellate court to do. This      privileged. For instance, in McMillan, the Court
argument mistakenly treats Rayburn's nondisclosure                   explained that "the fact of congressional authorization
protection as a prophylactic rule rather than a constitutional       for the questioned act is not sufficient to insulate the act
privilege. If a communication is privileged and within Rayburn's     from judicial scrutiny." 412 U.S. at 316 n.10; see also
scope, the Executive Branch violates the Speech or Debate            Powell v. McCormack, 395 U.S. 486, 504, 89 S. Ct.
Clause by viewing it. HN14[ ] And if the collateral order            1944, 23 L. Ed. 2d 491 (1969) (similar). The Court
doctrine provides jurisdiction, as it does here, we must             recognized the "importance of informing the public about
exercise that jurisdiction. See Sprint Communications, Inc. v.       the business of Congress. However, the question
Jacobs, 571 U.S. 69, 77, 134 S. Ct. 584, 187 L. Ed. 2d 505
                                                                     remains whether the act of doing so, simply because
(2013) ("Federal courts ... have no more right to decline the
                                                                     authorized by Congress, must always be [*23]
exercise of jurisdiction which is given, than to usurp that which
                                                                     considered 'an integral part of the deliberative and
is not given.") (cleaned up).

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communicative processes by which Members                      the privilege was applicable to legislative acts "without
participate in committee and House proceedings' with          inquiring whether the exercise was regular according to
respect to legislative or other matters before the House."    the rules of the house, or irregular and against their
McMillan, 412 U.S. at 314 (quoting Gravel, 408 U.S. at        rules." 4 Mass. at 27 (emphasis added). [*25] HN19[ ]
625); see also Eastland, 421 U.S. at 505-07 (following        And in Brown & Williamson, we noted "[t]he privilege ...
McMillan and Gravel). The relevant inquiry always             permits Congress to conduct investigations and obtain
reverts to whether an act is legislative under Gravel.        information without interference from the courts, at least
                                                              when these activities are performed in a procedurally
In McSurely, our en banc court considered in detail           regular fashion." 62 F.3d at 416 (emphasis added).
whether the "transportation and use of ... seized" private
documents "by the chairman of [a] Senate                      In light of the reasoning in Eastland, McSurely, and
subcommittee and several members of the                       other cases, we reject the district court's holding that all
subcommittee staff" were covered by the privilege. 553        informal factfinding is excluded from protection of the
F.2d at 1280 (per curiam opinion). We explained that          privilege and that factfinding must have formal
even if an investigation "fell within the broad               authorization before the privilege may attach. See In re
authorization of [a] Senate resolution[,] [that] does not     Search, slip op. at 21. HN20[ ] An investigation
render everything done by" a subcommittee or one of its       authorized by the House and within its jurisdiction is an
investigators "privileged activity which is essential to      exercise of congressional power and by definition part of
legislating." Id. at 1295 (majority opinion) (cleaned up).    a legislative proceeding, but formal authorization is
HN18[ ] Rather, in order "[f]or an activity to be             neither necessary nor sufficient for the privilege to
considered 'essential to legislating' it must be 'an          attach to the wide range of activities that could be
integral part of the deliberative and communicative           denominated "investigative" or "factfinding."8 Rather, the
processes' dealing with matters within the jurisdiction of    Supreme Court and this circuit consider the specific
Congress." Id. (quoting Gravel, 408 U.S. at 625). And         facts to determine whether a particular action is a
even authorized factfinding may not be privileged if it       legislative act within the test articulated by Gravel.9
"go[es] beyond the reasonable [*24] requirements of
                                                              B.
the legislative function." Id. at 1285 n.27, 1287 (quoting
McMillan, 412 U.S. at 315). In applying these principles,
                                                              Representative Perry maintains all instances of informal
we found that some acts taken pursuant to the
                                                              factfinding fit within Gravel's first category: acts that are
investigation were protected and others were not. For
                                                              "integral part[s] of the deliberative [*26]              and
instance, subcommittee staff were protected when they
                                                              communicative processes by which Members
inspected "234 photocopies" of seized documents
                                                              participate in committee and House proceedings with
"within the [s]ubcommittee." Id. at 1296. The Members
                                                              respect to the consideration and passage or rejection of
were also protected when they "use[d] ... the copies as
                                                              proposed legislation."10 408 U.S. at 625. To support his
the basis for issuance of subpoenas ... and ... procure[d]
... contempt of Congress citations against [the]
plaintiffs." Id. But one of the subcommittee's
                                                              8 HN21[    ] When a privilege argument rests on the assertion
investigators was not protected when he seized
                                                              that a House of Congress validly exercised its investigative
documents "[c]oncededly [i]rrelevant to [l]egislative
                                                              power, the scope of that investigative power is relevant to the
[i]nquiry."7 Id. at 1294-95 (majority opinion). In            inquiry and the Court considers whether the investigation
McSurely, the granular, fact-intensive evaluation resists     concerns "a subject on which legislation may be had."
any categorical rule that the Speech or Debate Clause         Eastland, 421 U.S. at 508. But determining whether Congress
privilege turns on formal authorization for an                acted within the scope of its investigative power is a distinct
investigation.                                                inquiry from whether the privilege attaches under Gravel.

                                                              9 Even under this fact-specific evaluation, the district court was
Other decisions similarly confirm the Speech or Debate
privilege does not turn solely on the formality or            correct that it is "unnecessary and irrelevant" to "assess the
                                                              sources of information Rep. Perry chose to use, the
regularity of a Member's act. For example, Coffin held
                                                              significance of that information to him in how he chose to act,
                                                              or whether the information he obtained ... amounted to
                                                              verifiable facts." In re Search, slip op. at 30.
7 Fiveof ten participating judges dissented with respect to
these documents, but they did so on Fourth Amendment          10 Representative  Perry makes no argument that informal
grounds. See id. at 1327-33 (Wilkey, J., dissenting).         factfinding categorically fits within Gravel's second category,

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contention, Representative Perry relies on the                      source of ... documents that came into the Senator's
importance of Congress's factfinding or informing                   possession ... as long as no legislative act is implicated
function as an ancillary to its legislative powers. For             by the questions." [*28] Id. at 628 (emphasis added).
example, Representative Perry points to the Court's                 This necessarily entails that the acquisition of
emphasis that "the power to investigate is inherent in              documents—a form of informal factfinding—was not a
the power to make laws because 'a legislative body                  legislative act. Gravel pokes a substantial hole in
cannot legislate wisely or effectively in the absence of            Representative Perry's privilege category.
information respecting the conditions which the
legislation is intended to affect or change.'" See                  Representative Perry also suggests that informal
Eastland, 421 U.S. at 504 (quoting McGrain v.                       factfinding includes all "efforts to help inform
Daugherty, 273 U.S. 135, 175, 47 S. Ct. 319, 71 L. Ed.              consideration of an upcoming vote." Perry Br. 17. But
580 (1927)) (cleaned up); see also McSurely, 553 F.2d               this claim is inconsistent with the Supreme Court's
at 1286 ("We have no doubt that information gathering,              decision in Hutchinson. There, a Member collected
whether by issuance of subpoenas or field work by a                 information about the federal government's allegedly
Senator or his staff, is essential to informed deliberation         wasteful expenditures and circulated this information in
over proposed legislation."). Representative Perry                  a press release and a constituent newsletter. 443 U.S.
contends the importance of factfinding to the legislative           at 114-17. The press release called the spending
process necessarily makes such acts legislative and                 "outrageous" and urged it was "time we put a stop" to
therefore privileged.                                               the waste. Id. at 116 (cleaned up). These
                                                                    communications fit within Representative Perry's
Informal factfinding is an amorphous category, and                  understanding of informal factfinding because the Court
Perry's briefing is unclear what precisely would be                 recognized "a Member's published statements exert
subsumed within this term. Some instances of                        some influence on other votes in the Congress and
informal [*27] factfinding might be privileged, but at              therefore have a relationship to the legislative and
least some of the acts Representative Perry considers               deliberative process." Id. at 131 (emphasis added).
to be informal factfinding have been held to be outside             Nonetheless, the Court held the privilege inapplicable
the coverage of the Clause. See McSurely, 553 F.2d at               because "neither the newsletters nor the press release
1285 n.27 (explaining the Supreme Court "has held                   was essential to the deliberations of the [*29] Senate
significant aspects of 'the informing function of                   and neither was part of the deliberative process." Id. at
Congress' outside of the protection of the Speech or                130 (emphasis added) (cleaned up). HN22[ ] Not all
Debate Clause") (cleaned up). His categorical claim for             communications that may influence a vote are
the privilege therefore fails.                                      privileged; rather, the proper test is whether such
                                                                    communications are "integral" or "essential" to
To begin with, Representative Perry would treat                     deliberations or otherwise satisfy the requirements of
acquiring information or documents to further legislative           Gravel.11
deliberations as always privileged, but this claim is
directly at odds with Gravel. Perry Br. 11, 17. That case           Finally, Representative Perry suggests his informal
concerned a senator who obtained a copy of the                      factfinding efforts are legislative acts because these
classified Pentagon Papers with the help of an aide.                communications related to his "official" duties and
Gravel, 408 U.S. at 608-10. The Senator read the                    responsibilities as a Member of Congress "during a time
Papers into the record and subsequently handed them                 of uncertainty about the validity of a Presidential election
off to a private publisher. Id. at 609-10. The Court held           and under circumstances that neither the nation nor its
the Senator's act of reading the Papers into the record             leaders had seen before." Perry Br. 28. HN23[ ] The
was a legislative act, i.e., actual speech in the Senate,           Speech or Debate privilege undoubtedly "assure[s] a co-
but the act of publishing them was not. Id. at 615-16,              equal branch of the government wide freedom of
622, 628-29. Importantly, the Court held a grand jury               speech, debate, and deliberation without intimidation or
could ask the aide "questions relevant to tracing the               threats from the Executive Branch." Gravel, 408 U.S. at


acts that are "integral part[s] of the deliberative and
communicative processes by which Members participate in             11 To  the extent Representative Perry also suggests the
committee and House proceedings ... with respect to other           privilege extends to any and all factual conversations a
matters ... within the jurisdiction of either House." Gravel, 408   Member has with individuals outside Congress, Perry Br. 29-
U.S. at 625.                                                        30, our caselaw offers no support for that assertion.

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616. But under Gravel, the "Clause ... does not protect               communications with individuals outside of Congress
acts that are not legislative in nature, even if they are             may qualify for the privilege. To determine whether a
performed in a Member's official capacity." Rose, 28                  particular matter or action is privileged, we must apply
F.3d at 187 (cleaned up).                                             the test in Gravel in a manner consistent with the
                                                                      principles undergirding the Clause. Because the district
Privileged legislative acts are only a subset of the                  court applied the incorrect legal standard, we remand
various activities a Member may undertake as part of                  the privilege determinations over categories (1) and (3)
his official duties and responsibilities. [*30] The fact that         for the district court to apply Gravel on a
informal factfinding is consistent with a Member's official           communication-by-communication basis.
duty to legislate wisely does not necessarily mean that
                                                                      V.
such acts are privileged. For instance, the Court has
held that the following activities are properly within a              We now consider whether the privilege applies to
Member's duties, yet not covered by the privilege:                    communications between Representative Perry and
"legitimate activities [of a] political ... nature," Brewster,        other Members of Congress or congressional staff. The
408 U.S. at 512; sending political newsletters to                     district court held [*32] some of these category (2)
constituents, Hutchinson, 443 U.S. at 130; and                        communications were privileged legislative acts and
"cajol[ing] ... and exhort[ing]" the Executive Branch,                some not. Representative Perry maintains they are all
Gravel, 408 U.S. at 625. Representative Perry's                       privileged.
suggestion that all "official" acts are privileged directly
contradicts the rule that the Clause does not "protect[]              The district court correctly held that communications
all conduct relating to the legislative process. ... HN24[            with Members and staff about legislation, votes,
   ] [T]he ... Clause has been limited to an act which was            committee assignments, and caucus affairs were
clearly a part of the legislative process—the due                     squarely "legislative acts" within the meaning of Gravel.
functioning of the process." Brewster, 408 U.S. at 515-               In re Search, slip op. at 40-44. Records of these
16; accord Brown & Williamson, 62 F.3d at 415.                        communications are privileged.

Informal factfinding encompasses a wide spectrum of                   The district court also determined that some of
acts that may or may not be related, much less integral,              Representative            Perry's         intra-congressional
to House "deliberative and communicative processes."                  communications were non-legislative. Id. at 43-44.
Gravel, 408 U.S. at 625. Cases applying the Gravel test               These included electronic newsletters, insofar as they
to specific acts demonstrate that informal factfinding has            merely discussed "upcoming events, political talking
no necessary connection to the privilege.12 Not                       points, news articles of interest, and [non-legislative]
everything under the informal factfinding umbrella is                 events occurring in and around Congress." Id. We agree
protected.     Representative    Perry's     attempt    to            these are too far removed from legislative proceedings
shoehorn [*31] a novel and broad category into Gravel                 to warrant privilege under the Clause. HN26[ ] Not
would pull the Supreme Court's doctrinal framework out                "everything a Member of Congress may regularly do is
of joint.                                                             ... a legislative act within the protection of the Speech or
                                                                      Debate Clause." McMillan, 412 U.S. at 313. Although
***
                                                                      sent by Members of Congress to other Members, the
The Supreme Court and this circuit have never                         newsletters did not concern legislative proceedings or
suggested that investigative activities are privileged only           matters integral to those proceedings, but rather
if undertaken pursuant to formal authorization, nor that              focused on topics outside the "legislative sphere." Id.
any activity asserted to be investigative factfinding is              (cleaned       up).    The     subjects [*33]     of   these
privileged. These categorical rules are inconsistent with             communications are akin to political matters not covered
our longstanding precedents and their reasoning. The                  by the privilege. See Brewster, 408 U.S. at 512-13.
labels "formal" and "informal" factfinding gloss over the             These newsletters are also similar to the newsletters
appropriate analysis under the Speech or Debate                       and press release the Court held unprotected in
Clause. HN25[ ] It follows from these principles that                 Hutchinson because they were not "essential to the
                                                                      deliberations of the Senate [nor] part of the deliberative
                                                                      process." 443 U.S. at 130 (cleaned up). It follows that
12 Judge    Katsas suggests some narrower category of                 Representative Perry's discussions with his staff about
information gathering is protected by the Clause. While this          press coverage and his media strategy are also not
possibility is not foreclosed, we need not resolve it in this case.   privileged legislative acts. These strategic discussions

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are at least as removed from the deliberative process as            HN28[ ] Federal courts must determine the outer
the unprivileged communications in Hutchinson. The                  boundaries of the Speech or Debate Clause privilege.
government may view records of these communications.                But when a Member engages in a legislative act, the
                                                                    court cannot carve out from the privilege certain topics
We disagree, however, with the district court's                     of discussion by labeling them "merely incidental" or by
determination that discussions with other Members                   deeming them illegitimate. Id. at 47; cf. Tenney, 341
about alleged fraud in the 2020 presidential election               U.S. at 377 ("The claim of an unworthy purpose does
were non-legislative. The court described these                     not destroy the privilege."). For courts to pick and
conversations as "purely political rather than legislative"         choose the scope of the privilege based on a free-
and opined that they were "[a]t best ... merely incidental          floating evaluation of the proper objects of
to Rep. Perry's [upcoming certification] vote." In re               congressional deliberation would threaten the Speech or
Search, slip op. at 45-47. The district court concluded             Debate Clause's essential protection for legislative
these conversations were "not integral to" legislative              independence.
proceedings and were "'beyond the legitimate legislative
needs of Congress.'" Id. at 46-47 (quoting [*34]                    Representative Perry's conversations with other
McSurely, 553 F.2d at 1285-86).                                     Members concerned the passage of proposed
                                                                    legislation as well as the exercise of the constitutional
The district court inadequately considered the context of           duty to certify the electoral votes from the 2020 election.
these     conversations,   which      involved    Member            These communications were privileged, and we leave it
deliberations about upcoming votes. Some of the                     to the district court to implement this holding on a
communications took place shortly prior to Congress's               communication-by-communication basis.
scheduled January 2021 vote on whether to certify the
electoral results from each state. Others took place                ***
while the House was considering a bill that would modify
                                                                    As to Representative Perry's communications with
federal election procedures, among other things. See
                                                                    individuals    outside      the   federal    government,
H.R. 1, 117th Cong. HN27[ ] Discussions between
                                                                    communications with members of the Executive Branch,
Members about pending votes are "things generally
                                                                    and [*36] communications with other Members of
done in a session of the House by one of its members in
                                                                    Congress regarding alleged election fraud during the
relation to the business before it," Kilbourn, 103 U.S. at
                                                                    period before Congress's vote certifying the 2020
204, and such discussions are within the heartland of
                                                                    election and before its vote on H.R. 1, the district court
"the deliberative and communicative processes by
                                                                    failed to apply the fact-specific privilege inquiry under
which Members participate in committee and House
                                                                    Gravel. We therefore vacate the judgment in part and
proceedings with respect to the consideration and
                                                                    remand for the district court to apply the correct
passage or rejection of proposed legislation" or other
                                                                    standard, consistent with this opinion. With respect to
matters within the House's jurisdiction.13 Gravel, 408
                                                                    the    remaining     privilege   determinations     about
U.S. at 625.
                                                                    Representative Perry's communications with Members
Relying on the fact that the communications concerned               of Congress, we affirm.
election fraud and electoral results, the district court
                                                                    So ordered.
labeled them "textbook political conversations not
protected by the Clause." In re Search, slip op. at 46.             Concur by: KATSAS
While elections are political events, a Member's
deliberation about whether to certify a presidential
election [*35] or how to assess information relevant to
                                                                    Concur
legislation about federal election procedures are
textbook legislative acts protected by Gravel.
                                                                    KATSAS, Circuit Judge, concurring: Representative Scott
                                                                    Perry claims that the Speech or Debate Clause of the
                                                                    Constitution protects the confidentiality of some 2,219
13 The government does not dispute that the certification vote
                                                                    records stored on his cell phone, including 1,508
was a "matter[] which the Constitution places within the            communications with individuals outside the House of
jurisdiction of [the] House," nor that the vote on H.R. 1 was       Representatives. Perry says that the latter involve what
"the consideration ... of proposed legislation." Gravel, 408 U.S.
                                                                    he calls "informal factfinding" to inform his votes on
at 625.

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whether to (1) certify the results of the 2020 presidential   The privilege claims asserted by Representative Perry
election and (2) support a bill to modify election            are substantially overbroad. Many of the disputed
procedures. The district court held that because the          records involve communications through which he
House had not formally authorized an investigation into       sought to influence the conduct of officials outside the
either matter, the Clause protects none of the 1,508          Congress—Executive Branch officials, state legislative
communications. On appeal, the Executive [*37]                officials, and campaign officials. Many other records
Branch supports the court's holding that the Clause           involve press releases or media statements. The district
protects no unauthorized factfinding by individual            court correctly held that the Speech or Debate Clause
Members of Congress, and Perry continues to argue             does not protect any of these records. And because
that the Clause protects all the disputed records.            Perry attempts to shoehorn all the disputed records into
                                                              an assertedly protected category of informal factfinding,
The Speech or Debate Clause provides that "for any            this Court rightly concludes that his alleged category
Speech or Debate in either House," Members of                 includes many unprotected communications.
Congress "shall not be questioned in any other Place."
U.S. Const. art. I, § 6, cl. 1. The Clause protects only      But some of the disputed records involve nothing more
"legislative acts," which "must be an integral part of the    than Representative Perry gathering [*39] information
deliberative and communicative processes by which             to inform upcoming votes. In my view, the Speech or
Members participate in committee and House                    Debate Clause protects that activity. Should an
proceedings with respect to the consideration" of either      individual Member of Congress bother to learn
proposed legislation or other House votes. Gravel v.          something about a bill before voting on it? The question
United States, 408 U.S. 606, 625, 92 S. Ct. 2614, 33 L.       answers itself. "Without information, Congress would be
Ed. 2d 583 (1972). This category includes "things             shooting in the dark, unable to legislate 'wisely or
generally done in a session of the House by one of its        effectively.'" Trump v. Mazars USA, LLP, 140 S. Ct.
members in relation to the business before it." Kilbourn      2019, 2031, 207 L. Ed. 2d 951 (2020) (quoting McGrain
v. Thompson, 103 U.S. 168, 204, 26 L. Ed. 377 (1881).         v. Daugherty, 273 U.S. 135, 175, 47 S. Ct. 319, 71 L.
Conversely, the Clause does not protect "political" acts,     Ed. 580 (1927)). That is why each House has an implied
which are "casually or incidentally related to legislative    power to subpoena witnesses or documents relevant to
affairs but not a part of the legislative process itself."    possible legislation. McGrain, 273 U.S. at 177. It is also
United States v. Brewster, 408 U.S. 501, 512, 528, 92         why the Speech or Debate Clause protects exercises of
S. Ct. 2531, 33 L. Ed. 2d 507 (1972).                         that power. Eastland, 421 U.S. at 504. Of course,
                                                              individual Members cannot unilaterally exercise the
Several precedents elucidate this distinction. Protected      House's implied power to issue subpoenas (at least
legislative acts include voting, speaking on the floor,       absent a delegation), just as they cannot unilaterally
introducing bills or resolutions, writing committee           exercise Congress's express power to, say, regulate
reports, and speaking at committee meetings. See Doe          interstate commerce. But when individual Members
v. McMillan, 412 U.S. 306, 311, 93 S. Ct. 2018, 36 L.         solicit or receive information from colleagues or others
Ed. 2d 912 (1973); Kilbourn, 103 U.S. at 204. Also            willing to provide it voluntarily, they engage in activity
protected is the issuance of subpoenas, if formally [*38]     integral to the "deliberative and communicative
authorized and relevant to a subject on which legislation     processes" of the Congress itself. Gravel, 408 U.S. at
could be had. Eastland v. U.S. Servicemen's Fund, 421         625. Regardless of formal authorization, the Speech or
U.S. 491, 504-06, 95 S. Ct. 1813, 44 L. Ed. 2d 324            Debate Clause thus protects "information gathering" as
(1975). On the other hand, unprotected political acts         an "essential prerequisite[]" to the "enlightened debate
include press releases, speeches made outside the             over proposed legislation," Gov't of V.I. v. Lee, 775 F.2d
Congress, and helping constituents. Brewster, 408 U.S.        514, 521 (3d Cir. 1985); see Miller v. Transamerican
at 512. Also unprotected are "attempts to influence the       Press, Inc., 709 F.2d 524, 530 (9th Cir. 1983), just as a
conduct of executive agencies," Hutchinson v. Proxmire,       common-law immunity protects the same activity [*40]
443 U.S. 111, 121 n.10, 99 S. Ct. 2675, 61 L. Ed. 2d          by state and local legislators, Almonte v. City of Long
411 (1979); the taking of bribes, Brewster, 408 U.S. at       Beach, 478 F.3d 100, 107 (2d Cir. 2007); Bruce v.
525-26; the unauthorized acquisition of classified            Riddle, 631 F.2d 272, 279-80 (4th Cir. 1980); see also
documents, Gravel, 408 U.S. at 628-29; and the use of         Kent v. Ohio House of Representatives Democratic
other "unlawful means" to pursue investigations,              Caucus, 33 F.4th 359, 364 (6th Cir. 2022) (equating the
McSurely v. McClellan, 553 F.2d 1277, 1288, 180 U.S.          two immunities).
App. D.C. 101 (D.C. Cir. 1976) (en banc).

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The district court reasoned that McSurely forecloses           individual Members who, [*42] while conducting the
Speech or Debate Clause protection for information             business     of   a     congressional    committee      or
gathering that has not been formally authorized by the         subcommittee, informally solicit input from individuals
House or Senate itself. In re Search of Forensic Copy of       outside the Congress. See Oral Arg. 46:00-48:30,
Cell Phone of Representative Scott Perry, No. 1:22-sc-         51:30-52:05. But the character of these solicitations is
02144, slip op. at 22 (D.D.C. Dec. 28, 2022) (In re            the same regardless of whether the relevant
Search). But one part of McSurely says the opposite:           deliberations occur in a subcommittee, in a committee,
"The acquisition of knowledge through informal sources         or on the floor. If a Member of the Senate Judiciary
is a necessary concomitant of legislative conduct and          Committee engages in protected activity by soliciting
thus should be within the ambit of the privilege so that       input from outside groups to inform his vote on whether
congressmen are able to discharge their constitutional         to recommend confirming a Supreme Court nominee,
duties properly." 553 F.2d at 1287 (cleaned up). The           then so too do other Members of the Senate in deciding
district court invoked McSurely's further statement that       how to vote when the nomination reaches the full
"congressional authorization" of an investigation, which       Senate. Likewise, the district court recognized that a
the House or Senate typically provides to a committee          Representative,     regardless     of    committee      or
or subcommittee, is a "requirement" to justify the             subcommittee authorization, engages in protected
issuance of subpoenas under McGrain and the ensuing            activity   by   soliciting   information   from    fellow
Speech or Debate Clause protection under Eastland.             Representatives about an upcoming vote. In re Search,
See id. In turn, Eastland confirms that congressional          supra, at 40-41. If that is so, then so too does a
authorization of an investigation is "sufficient" to justify   Representative who, in preparing for the same vote,
the issuance of subpoenas under McGrain. See 421               solicits information from individuals outside the
U.S. at 506. These rules, governing the authority and          Congress.
protection for the issuance of congressional subpoenas,
do not suggest that the Speech or Debate Clause                The Court rightly concludes that the category of
affords no protection when a Member seeks only to              "informal factfinding" proposed by Representative Perry
gather information [*41] consensually and informally,          includes much unprotected material, but I do not read
from individuals willing to provide it voluntarily.            the Court's opinion to [*43] foreclose protection for the
                                                               kind of informal, non-coercive information gathering that
Moreover, such a restriction would stand the Clause on         I have described. On that understanding, I join the
its head. Its most obvious applications—to speech,             Court's opinion in full.
debate, and voting—cover activities that Members
routinely perform on the floor of the House, individually
and without authorization from any committee or                  End of Document

subcommittee. A leading early decision held that a state
analog of the Clause "is not so much the privilege of the
house, as an organized body, as of each individual
member composing it, who is entitled to this privilege,
even against the declared will of the house." Coffin v.
Coffin, 4 Mass. 1, 27 (1808). The Supreme Court,
describing Coffin as "perhaps, the most authoritative
case in this country" on the "freedom of debate in
legislative bodies," has treated Coffin as highly
persuasive in construing the federal Speech or Debate
Clause. See Kilbourn, 103 U.S. at 203-04. And the
modern Court continues to describe the Clause as
protecting "the independence of individual legislators,"
not the House or Senate as a whole or committees or
subcommittees acting on behalf of either body.
Brewster, 408 U.S. at 507.

Finally, a formal authorization requirement would make
no sense. At oral argument, the Executive all but
conceded that the Speech or Debate Clause protects

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Date and Time: Thursday, November 2, 2023 3:48:00PM EDT
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Document (1)

 1. Clyde v. Walker, 2023 U.S. App. LEXIS 28044
  Client/Matter: -None-




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                                               Clyde v. Walker
                          United States Court of Appeals for the District of Columbia Circuit
                                               October 20, 2023, Filed
                                                     No. 22-5263

Reporter
2023 U.S. App. LEXIS 28044 *

ANDREW S. CLYDE, INDIVIDUALLY, AND IN HIS
                                                             Overview
OFFICIAL CAPACITY AS A MEMBER OF THE U.S.
HOUSE OF REPRESENTATIVES; LOUIE GOHMERT,                     HOLDINGS: [1]-Where two members of the U.S. House
INDIVIDUALLY, AND IN HIS OFFICIAL CAPACITY AS                of Representatives were fined for failing to complete a
A MEMBER OF THE U.S. HOUSE OF                                security screening required by H.R. 73, 117th Cong. §
REPRESENTATIVES; LLOYD SMUCKER,                              1(a)(1) (2021) (enacted), their suit against the Sergeant
INDIVIDUALLY, AND IN HIS OFFICIAL CAPACITY AS                at Arms and the Chief Administrative Officer claiming
A MEMBER OF THE U.S. HOUSE OF                                the Resolution was unconstitutional was barred by the
REPRESENTATIVES, APPELLANTS, v. WILLIAM J.                   Speech or Debate Clause set forth in U.S. Const. art. I,
WALKER, IN HIS OFFICIAL CAPACITY AS                          § 6, cl. 1; therefore, the case was dismissed for lack of
SERGEANT AT ARMS OF THE U.S. HOUSE OF                        subject matter jurisdiction.
REPRESENTATIVES; CATHERINE SZPINDOR, IN
HER OFFICIAL CAPACITY AS CHIEF                               Outcome
ADMINISTRATIVE OFFICER OF THE U.S. HOUSE OF                  Judgment affirmed.
REPRESENTATIVES, APPELLEES.

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APPELLATE PROCEDURE RULE 32.1 GOVERNING
THE CITATION TO UNPUBLISHED OPINIONS.

Prior History: [*1] Appeal from the United States
District Court for the District of Columbia. (No. 1:21-cv-
                                                                 Constitutional Law > Congressional Duties &
01605).
                                                                 Powers > Presentment & Veto

                                                                 Constitutional Law > Congressional Duties &
Clyde v. Walker, 619 F. Supp. 3d 193, 2022 U.S. Dist.
                                                                 Powers > Speech & Debate Immunity
LEXIS 136324, 2022 WL 3026992 (D.D.C., Aug. 1,
2022)
                                                                 Constitutional Law > Congressional Duties &
                                                                 Powers > Elections > Time, Place & Manner
Core Terms                                                       Restrictions

legislative act, fines, deducted, Proceedings, challenged        Constitutional Law > Congressional Duties &
act, district court, proxy voting, violations, screening,        Powers > Elections > Regulations
salaries, lack of subject matter jurisdiction, pursuant to
the rule, immunity from suit, jurisdictional bar, regulate   HN1[ ]    Congressional            Duties   &   Powers,
conduct, en banc, disorderly, questioned, paychecks,         Presentment & Veto
processes, immunity, matters, places, punish, floor,
mask                                                         The Speech or Debate Clause provides: Senators and
                                                             Representatives for any Speech or Debate in either
Case Summary                                                 House shall not be questioned in any other Place. U.S.
                                                             Const. art. I, § 6, cl. 1. In the system of separated

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powers, the Clause is one manifestation of the                   HN4[ ]    Immunity       From    Liability,   Legislative
Constitution's practical security for ensuring the               Functions
independence of the legislature. The Clause provides
this security by preventing intimidation of legislators by       The U.S. Constitution vests each House with the
the Executive and accountability before a possibly               authority to determine the Rules of its Proceedings and
hostile judiciary.                                               punish its Members for disorderly Behaviour. U.S.
                                                                 Const. art. I, § 5, cl. 2. The adoption and execution of a
                                                                 House Resolution are legislative acts implicating the
                                                                 House's power pursuant to the Rules and Discipline
    Civil Rights Law > Protection of Rights > Immunity
                                                                 Clauses.
    From Liability > Legislative Functions

    Constitutional Law > Congressional Duties &
    Powers > Speech & Debate Immunity                                Civil Rights Law > Protection of Rights > Immunity
                                                                     From Liability > Legislative Functions
HN2[ ]    Immunity        From      Liability,   Legislative
Functions                                                            Constitutional Law > Congressional Duties &
                                                                     Powers > Speech & Debate Immunity
The Speech or Debate Clause operates as a
jurisdictional bar when the actions upon which a plaintiff       HN5[ ]    Immunity       From    Liability,   Legislative
sought to predicate liability were legislative acts. The         Functions
Clause's immunity from suit is jurisdictional and prohibits
the judiciary from questioning speech, debate, or                To safeguard congressional independence, the Speech
legislative acts that fall within the Clause's coverage.         or Debate Clause's immunity from suit is absolute,
U.S. Const. art. I, § 6, cl. 1.                                  shielding protected legislative acts regardless of their
                                                                 alleged unconstitutionality.

                                                                 Counsel: For Andrew S. Clyde, Individually, and in his
    Constitutional Law > Congressional Duties &
                                                                 Official Capacity as a member of the U.S. House of
    Powers > Speech & Debate Immunity
                                                                 Representatives, Louie Gohmert, Individually, and in his
                                                                 Official Capacity as a member of the U.S. House of
HN3[ ] Congressional Duties & Powers, Speech &
                                                                 Representatives, Lloyd Smucker, Individually, and in his
Debate Immunity
                                                                 Official Capacity as a member of the U.S. House of
                                                                 Representatives, Plaintiffs - Appellants: Kenneth T.
Beyond actual speech or debate, an act is considered
                                                                 Cuccinelli II, Law Office of Kenneth T. Cuccinelli, II,
legislative only if it is an integral part of the deliberative
                                                                 Spottsylvania, VA; Earl N. Mayfield III, Juris Day, PLLC,
and communicative processes by which Members
                                                                 Fairfax, VA.
participate in committee and House proceedings with
respect to either: (1) the consideration and passage or          For William J. Walker, In his Official Capacity as
rejection of proposed legislation or (2) other matters           Sergeant at Arms of the U.S. House of Representatives,
which the U.S. Constitution places within the jurisdiction       Catherine Szpindor, In her Official Capacity as Chief
of either House.                                                 Administrative Officer of the U.S. House of
                                                                 Representatives, Defendants - Appellees: Matthew B.
                                                                 Berry, Sarah Edith Clouse, Brooks M. Hanner, Assistant
                                                                 General Counsel, Todd B. Tatelman, U.S. House of
    Civil Rights Law > Protection of Rights > Immunity
                                                                 Representatives, Washington, DC.
    From Liability > Legislative Functions
                                                                 Judges: Before: SRINIVASAN, Chief Judge, and RAO
    Constitutional Law > Congressional Duties &
                                                                 and CHILDS, Circuit Judges.
    Powers > Presentment & Veto

    Constitutional Law > Congressional Duties &                  Opinion
    Powers > Elections > Time, Place & Manner
    Restrictions


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JUDGMENT                                                         The Representatives [*3] first contend the district court
                                                                 erred when it dismissed their complaint for lack of
This case was considered on the record from the United           subject matter jurisdiction. They maintain that Speech or
States District Court for the District of Columbia and on        Debate Clause immunity operates as an affirmative
the briefs and oral arguments of [*2] the parties. The           defense rather than as a jurisdictional bar.4 We
court has afforded the issues full consideration and             disagree.
determined they do not warrant a published opinion.
See D.C. CIR. R. 36(d). For the reasons stated below, it         HN1[ ] The Speech or Debate Clause provides:
is hereby:                                                       "Senators and Representatives ... for any Speech or
                                                                 Debate in either House ... shall not be questioned in any
ORDERED and ADJUDGED that the district court's                   other Place." U.S. Const. art. I, § 6, cl. 1. In our system
order be affirmed.                                               of separated powers, the Clause is "one manifestation
                                                                 of the [Constitution's] 'practical security' for ensuring the
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                                                                 independence of the legislature." United States v.
In February 2021, the United States House of                     Johnson, 383 U.S. 169, 179, 86 S. Ct. 749, 15 L. Ed. 2d
Representatives adopted House Resolution 73, which               681 (1966) (quoting THE FEDERALIST NO. 48, at 332
required Members to complete security screening                  (James Madison) (Jacob E. Cooke ed., 1961)). The
before entering the House Chamber and authorized                 Clause provides this security by "prevent[ing]
fines for any Member who failed to complete such                 intimidation of legislators by the Executive and
screening. H. Res. 73, 117th Cong. § 1(a)(1), 167 Cong.          accountability before a possibly hostile judiciary." Gravel
Rec. H274-75 (daily ed. Feb. 2, 2021).1 Representatives          v. United States, 408 U.S. 606, 617, 92 S. Ct. 2614, 33
Andrew Clyde, Louie Gohmert, and Lloyd Smucker                   L. Ed. 2d 583 (1972).
refused to complete the mandated security screening
                                                                 HN2[ ] "[T]he Speech or Debate Clause operates as a
before entering the House Chamber.2 Pursuant to the
                                                                 jurisdictional bar when 'the actions upon which a plaintiff
Resolution, the Sergeant at Arms levied fines against
                                                                 sought to predicate liability were legislative acts.'" Fields
each Representative, which were deducted from their
                                                                 v. Off. of Eddie Bernice Johnson, 459 F.3d 1, 13, 373
net salaries by the Chief Administrative Officer.
                                                                 U.S. App. D.C. 32 (D.C. Cir. 2006) (en banc) (cleaned
The Representatives sued the Sergeant at Arms and                up) (quoting Doe v. McMillan, 412 U.S. 306, 318, 93 S.
the Chief Administrative Officer. They maintained the            Ct. 2018, 36 L. Ed. 2d 912 (1973)); see also In re
Resolution violated the Twenty-Seventh Amendment                 Sealed Case, 80 F.4th 355, 362 (D.C. Cir. 2023);
and the Discipline Clause and challenged its                     Massie v. Pelosi, 72 F.4th 319, 321 (D.C. Cir. 2023);
enforcement. The district court held the suit barred by          Rangel v. Boehner, 785 F.3d 19, 22, 415 U.S. App. D.C.
the Speech or Debate Clause and dismissed for lack of            60 (D.C. Cir. 2015); Howard v. Off. of Chief Admin.
subject matter jurisdiction. Clyde v. Walker, 619 F.             Officer of U.S. House of Representatives, 720 F.3d 939,
Supp. 3d 193, 199-201 (D.D.C. 2022). The                         941, 405 U.S. App. D.C. 402 (D.C. Cir. 2013). The
                                                                 Clause's immunity from suit is jurisdictional and prohibits
Representatives timely appealed.3
                                                                 the judiciary from "question[ing]" speech, debate, or
I.                                                               legislative acts that fall within the Clause's coverage.
                                                                 U.S. CONST. art. I, § 6, cl. 1.
                                                                 II.
1 H.R. 73 expired at the end of the 117th Congress.
                                                                 We next consider whether the challenged acts fall within
                                                                 the Clause's ambit. The Representatives maintain the
2 These facts are taken from the complaint, which we accept

as true for purposes of reviewing the district court's order
granting the Sergeant at Arms and Chief Administrative
Officer's motion to dismiss. See Bernhardt v. Islamic Republic   4 This case concerns only the Speech or Debate Clause's
of Iran, 47 F.4th 856, 861 (D.C. Cir. 2022).                     immunity from suit and does not implicate the other
                                                                 protections recognized as flowing from the Clause, such as its
3 Although Louie Gohmert is no longer a representative, he       evidentiary and testimonial privileges. Those privileges shield
faces an ongoing pocketbook injury—a $5,000 fine—so his          Members against certain forms of questioning but do not
claims are not moot. See, e.g., Powell v. McCormack, 395         deprive the court of jurisdiction. See Massie v. Pelosi, 72 F.4th
U.S. 486, 496, 89 S. Ct. 1944, 23 L. Ed. 2d 491 (1969).          319, 321 n.1 (D.C. Cir. 2023).

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defendants [*4] may be sued because issuing a fine                conduct of Members on the House floor." Massie, 72
and deducting it from paychecks were merely                       F.4th at 321. When the Representatives failed to comply
"administrative activities that are not speech, debate, or        with the security procedures required by the
core legislative [acts]."                                         Resolution, [*6] the Sergeant at Arms issued a fine and
                                                                  the Chief Administrative Officer deducted the fine from
HN3[ ] "Beyond actual speech or debate, an act is                 their paychecks. "The [Sergeant at Arms] engaged in a
considered 'legislative' only if it is 'an integral part of the   legislative act when he fined the Representatives for
deliberative and communicative processes by which                 violating the Resolution, and the Chief Administrative
Members participate in committee and House                        Officer engaged in a legislative act when she deducted
proceedings with respect to' either: (1) 'the                     those fines from the Representatives' salaries." Id. at
consideration and passage or rejection of proposed                323. Both acts are protected by the Speech or Debate
legislation' or (2) 'other matters which the Constitution         Clause.
places within the jurisdiction of either House.'" Massie,
72 F.4th at 322 (quoting Gravel, 408 U.S. at 625).                The Representatives resist this conclusion and maintain
                                                                  that House Rules are reviewable whenever "a plausible
The challenged acts are "legislative" within the meaning          constitutional violation is alleged." We rejected that
of Gravel's second prong because they involve matters             argument in Massie, and we do so again today. Id. at
the Constitution places within the jurisdiction of the            323-24.     HN5[ ]      To   safeguard    congressional
House. HN4[ ] The Constitution vests "[e]ach House"               independence, the Clause's "immunity from suit is
with the authority to "determine the Rules of its                 'absolute,'" shielding protected legislative acts
Proceedings" and "punish its Members for disorderly               regardless of their alleged unconstitutionality. Id.
Behaviour." U.S. Const. art. I, § 5, cl. 2. We have               (quoting Rangel, 785 F.3d at 24); see also In re Sealed
recently held that the adoption and execution of a                Case, 80 F.4th at 362; Eastland v. U.S. Servicemen's
House Resolution are legislative acts implicating the             Fund, 421 U.S. 491, 509-10, 95 S. Ct. 1813, 44 L. Ed.
House's power pursuant to the Rules and Discipline                2d 324 (1975).
Clauses. In McCarthy v. Pelosi, Representatives
challenged a House Resolution permitting voting by                ***
proxy. 5 F.4th 34, 38, 453 U.S. App. D.C. 305 (D.C. Cir.
2021). We held that "the House adopted [*5] its rules             When executing House Resolution 73, the defendants
for proxy voting under its power to 'determine the Rules          were engaged in legislative acts. They are therefore
of its Proceedings.'" Id. at 40 (quoting U.S. Const. art. I,      entitled to Speech or Debate Clause immunity, and we
§ 5, cl. 2). Although the challenged acts "involve[d]             lack jurisdiction to consider the merits of the
implementation of proxy voting pursuant to the                    Representatives' claims.
Resolution," they were nonetheless "integral" to the
"processes by which Members participate in ... House              For the foregoing reasons, we affirm. Pursuant to D.C.
proceedings." Id. at 39 (emphasis added) (quoting                 Circuit Rule 36(d), this disposition will not be published.
Gravel, 408 U.S. at 625). And in Massie,                          The Clerk is directed to withhold issuance of the
Representatives challenged a House Resolution that                mandate until seven days [*7] after resolution of any
required wearing masks in the House Chamber, and, as              timely petition for rehearing or petition for rehearing en
in this case, violations resulted in fines deducted from          banc. See FED. R. APP. P. 41(b); D.C. Cir. R. 41(a)(1).
Members' salaries. 72 F.4th at 321. We held that the
                                                                  Per Curiam
Resolution was a legislative act because, "like the proxy
voting rule, [the mask rule] regulates the conduct of
Members on the House floor." Id. at 323. And we                     End of Document
emphasized that fines for violations of the Resolution
are "an aspect of Congress' power to 'punish its
Members for disorderly Behaviour' ... that may not be
questioned in this court." Id. (quoting U.S. Const. art. I, §
5, cl. 2).

The suit here is indistinguishable from Massie and
McCarthy. The House enacted Resolution 73 pursuant
to the Rules Clause, and the Resolution "regulates the

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